     Case 2:19-cv-05209-GW-KS Document 36 Filed 03/03/20 Page 1 of 2 Page ID #:393



     RICKEY IVIE (#76864)
 1   rivie@imwlaw.com
     JACK ALTURA (#297314)
 2   jaltura@imwlaw.com
 3
     IVIE, McNEILL & WYATT
     A Professional Law Corporation
 4   444 South Flower Street, Suite 1800
     Los Angeles, CA 90071
 5   Tel: (213) 489-0028
     Fax: (213) 489-0552
 6

 7
     Attorneys for Defendants
     COUNTY OF LOS ANGELES, et al.
 8
                         UNITED STATES DISTRICT COURT
 9

10
                       CENTRAL DISTRICT OF CALIFORNIA

11

12
     KRYSTAL REYES, as Guardian ad   ) CASE NO.: 2:19-cv-05209-GW-KS
13                                   )
     Litem for I.R., a minor,        )
14                                   ) AMENDED STIPULATION TO
                    Plaintiff,       ) MODIFY COURT’S SCHEDULING
15                                   )
         vs.                         ) ORDER (ECF #24) AND TO
16                                   ) CONTINUE THE DISCOVERY
                                     )
17
     COUNTY OF LOS ANGELES, LOS ) CUT-OFF DATE; AND ORDER
     ANGELES COUNTY PROBATION )
18                                   ) Current discovery cut-off: 3/6/2020
     DEPARTMENT, LOS ANGELES         ) Requested discovery cut-offs:
19   COUNTY CHIEF PROBATION          )
     OFFICER TERI L. McDONALD,       ) 3/20/2020, 4/3/2020
20                                   ) Motion hearing cut-off: 5/4/2020
     DEPUTY PROBATION OFFICER        )
21   PUENTE, DEPUTY PROBATION        ) Trial date: 6/14/2020
                                     )
     OFFICER STANCE, and DOES 1 TO )
22
     10,                             )
23                  Defendants.      )
                                     )
24                                   )
                                     ) Complaint filed: 6/14/2019
25                              STIPULATION
26         WHEREAS, on February 26, 2020, Magistrate Judge Karen L. Stevenson
27   held a telephonic conference (ECF #30) about Defendants’ Ex Parte Application
28   for a Protective Order (ECF #29 [stricken]).


                                             -1-
Case 2:19-cv-05209-GW-KS Document 36 Filed 03/03/20 Page 2 of 2 Page ID #:394
